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             IN THE UNITED STATES DISTRICT COURT FOR THE

                       WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )
             -vs-                           )         No.   CR-20-67-JD
                                            )
KENYATA O'KEEFE THOMAS,                     )
                                            )         Violation: l8 U.S.C. $ 1038(a)(1)
                    Defendant.              )

                                 I   NFORMATION
The United States charges:

             On or about April 19, 20i9, within the Western District of Oklahoma,

                             KENYATA O'KEEFE THOMAS

intentionally conveyed to the University of Central Oklahoma (UCO) false and misleading

infonnation that an unnamed person was planning to detonate a bomb on UCO's campus,

which would have constituted a violation of l8 U.S.C. $ 844(i). The defendant conveyed

the false and misleading information under circumstances where such information may

reasonably have been believed by UCO.

             All in violation of Title   18, United States Code, Section 1038(a)(1)



                                            TIMOTHY         J.   DOWNING
                                            I   inited States     orney

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                                            MARK R. STONEMAN
                                            Assistant United States Attorney
